


  Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 20th day of February 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
 

  "Allowed by order of the Court in conference, this the 3rd day of May 2007."
 

  Upon consideration of the petition filed on the 20th day of February 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 3rd day of May 2007."
 

  Upon consideration of the petition filed by Defendant on the 2nd day of April 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 3rd day of May 2007."
 
